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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                    CASE NO. 9:17-CV-80495 and CASE NO. 9:17-CV-80496
                                MARRA-MATTHEWMAN

    CONSUMER FINANCIAL PROTECTION
    BUREAU,

                      Plaintiff,

          v.

    OCWEN FINANCIAL CORPORATION;
    OCWEN MORTGAGE SERVICING, INC.;
    OCWEN LOAN SERVICING, LLC.; and PHH
    MORTGAGE CORPORATION, LLC,

                      Defendants.




    OFFICE OF THE ATTORNEY GENERAL,
    THE STATE OF FLORIDA,
    Department of Legal Affairs,
    and

    OFFICE OF FINANCIAL REGULATION,
    THE STATE OF FLORIDA,
    Division of Consumer Finance,
          v.
    OCWEN FINANCIAL CORPORATION;
    OCWEN MORTGAGE SERVICING, INC.;
    OCWEN LOAN SERVICING, LLC.; and PHH
    MORTGAGE CORPORATION, LLC,

                      Defendants.
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              PROPOSED AMENDED DISCOVERY AND SCHEDULING ORDER

          THIS CAUSE is before the Court upon Plaintiffs’, the Bureau of Consumer Financial

   Protection (the “Bureau”), and the Office of the Attorney General and Office of Financial

   Regulation for the State of Florida (“Florida”) (collectively “Plaintiffs”), motion to consolidate

   their respective actions, Case Nos. 9:17-CV-80495 and 9:17-CV-80496 against Ocwen Financial

   Corporation, Ocwen Mortgage Servicing Inc., Ocwen Loan Servicing, LLC, and PHH Mortgage

   Corporation LLC (collectively “Defendants”), for purposes of certain pre-trial proceedings, and

   trial [DE ___ in the Bureau action, DE ___ in the Florida action].

          Upon the Court’s consideration of the Plaintiffs’ Motions, the Court grants the Motions

   and ORDERS the consolidation of actions Case Nos. 9:17-CV-80495 and 9:17-CV-80496 for

   purposes of pre-trial and trial. The actions are not consolidated for purposes of appeal and

   judgment. The Court hereby amends the Scheduling Orders in place in the Bureau action [DE

   507] and the Florida action [DE 539], and to facilitate consolidation for trial, ORDERS as

   follows:

                               Consolidated Pre-Trial and Trial Dates

      1. These cases are set for joint trial on the three-week calendar commencing Tuesday,

          October 13, 2020 at 9:00 a.m.

      2. Dispositive motions for all parties are due on March 31, 2020.

      3. Pre-trial motions for all Plaintiffs and Defendants are due September 9, 2020.

      4. Final pre-trial conference to be held on October 9, 2020.

      5. Counsel for all parties shall appear at a calendar call commencing Friday, October 9,

          2020 at 10:00 a.m.




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         DONE AND ORDERED in Chambers at West Palm Beach, Florida, this ____ day of

   ________, 2019.

                                                     ____________________
                                                     KENNETH A. MARRA
                                                     United States District Judge


   Copies furnished:
   Magistrate Judge William Matthewman
   All counsel of record




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